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                   EXHIBIT A
                                               Case Number:23-009409-SC
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                      IN THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                             IN AND FOR PINELLAS COUNTY, FLORIDA
                                    SMALL CLAIMS DIVISION

        Paula Rambo,

                Plaintiff,                                  Case No:       ____________________

                v.

        Equifax Information Services, LLC,
                                                                      JURY TRIAL DEMANDED
                Defendant.

                              COMPLAINT AND DEMAND FOR JURY TRIAL

                COMES NOW the Plaintiff, Paula Rambo, (“Ms. Rambo”), by and through her attorneys,

         Seraph Legal, P.A., and complains of the Defendant, Equifax Information Services, LLC

         (“Equifax”), stating as follows:

                                        PRELIMINARY STATEMENT

                1.      This is an action for damages not to exceed $8,000, exclusive of attorney’s fees and

         costs, brought by Ms. Rambo against Equifax for violations of the Fair Credit Reporting Act, 15

         U.S.C. § 1681, et. seq. (“FCRA”).

                                            JURISDICTION AND VENUE

                2.      Jurisdiction arises under the FCRA, 15 U.S.C. § 1681p and Section 34.01, Florida

         Statutes.

                3.      Equifax is subject to the provisions of the FCRA and is subject to the jurisdiction

         of the Court pursuant to Section 48.193, Florida Statutes.

                4.      Venue is proper in Pinellas County, Florida, pursuant to Section 47.051 Florida

         Statutes, because the acts complained of were committed and / or caused by the Defendant within

         Pinellas County.



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                                             PARTIES

        5.      Ms. Rambo is a natural person residing in Palm Harbor, Pinellas County, Florida.

        6.      Ms. Rambo is a Consumer as defined by 15 U.S.C. § 1681a(c).

        7.      Equifax is a Georgia corporation, with a primary business address of 1550

 Peachtree Street NW, Atlanta, GA 30309.

        8.      Equifax is registered to conduct business as a foreign corporation in the State of

 Florida, where its Registered Agent is Corporation Service Company, 1201 Hays Street,

 Tallahassee, FL 32301.

        9.      Equifax is a nationwide Consumer Reporting Agency (“CRA”) within the meaning

 of 15 U.S.C. § 1681a(f), in that, for monetary fees, dues, and/or on a cooperative nonprofit basis,

 it regularly engages in whole or in part in the practice of assembling or evaluating consumer credit

 information or other information on consumers for the purpose of furnishing consumer reports to

 third parties, and which uses means or facilities of interstate commerce for the purpose of preparing

 or furnishing consumer reports, specifically the mail and internet. As a CRA, Equifax is aware of

 its obligations under the FCRA.

                                   FACTUAL ALLEGATIONS

                       Ms. Rambo’s Decembe 2023 Consumer Disclosure

        10.     On or about December 5, 2023, Ms. Rambo requested a copy of her consumer credit

 disclosure from Equifax.

        11.     Pursuant to 15 U.S.C. § 1681g(a), upon receipt of Ms. Rambo’s request, Equifax

 was required to “clearly and accurately” disclose all information in Ms. Rambo’s file at the time

 of her request, with the limited exception that her Social Security number could be truncated upon

 request.




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         12.    Equifax provided an electronic copy of Ms. Rambo’s Consumer Disclosure

 (“Equifax’s Disclosure”) to her at her home address in Palm Harbor, Florida.

                  Equifax’s Disclosure Was Not Complete, Clear, or Accurate

                                    Missing Original Creditors

         13.    Despite a requirement to disclose all information in her credit file at the time of her

 request, Equifax’s Disclosure omitted significant amounts of information contained in her credit

 file.

         14.    Equifax’s Disclosure indicated that Ms. Rambo’s credit file contained seven (7)

 accounts classified as “Other.” SEE PLAINTIFF’S EXHIBIT A.

         15.    Equifax’s Disclosure stated: “Other accounts are those that are not already

 identified as Revolving, Mortgage, or Installment Accounts such as child support obligations or

 rental agreements.” Id.

         16.    The accounts appearing in the “Other” section were reported by ESUSU/THR

 Property Management (“ESUSU”), Trident Asset Management, LLC (“Trident”), Midland Credit

 Management (“MCM”), LVNV Funding, LLC (“LVNV”) and Jefferson Capital (“Jefferson”).

         17.    Trident, MCM, LVNV, and Jefferson are Debt Buyers – companies whose primary

 purposes are the purchase and collection of debts which were originally owed to third parties.

         18.    As Trident, MCM, LVNV, and Jefferson do not lend to consumers, they are never

 an Original Creditor.

         19.    Despite this, when disclosing the Trident, MCM, LVNV, and Jefferson tradelines

 to Ms. Rambo, Equifax indicated that Trident, MCM, LVNV, and Jefferson were the Original

 Creditors of the accounts, omitting any reference to the Original Creditor.




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            20.   Despite being required to provide a full and complete disclosure of the information

 contained within its records, per 15 U.S.C. § 1681g(a), under the “Account Details” section of the

 account, Equifax placed a notation, “Contact the creditor or lender if you have any questions about

 it.” Id.

            21.   Equifax thus shifted the burden of disclosure and inquiry away from itself, and onto

 Ms. Rambo.

                                      Missing Account Numbers

            22.   Making matters even more confusing for Ms. Rambo, Equifax omitted the full

 account numbers relating to the ESUSU, Trident, MCM, LVNV, and Jefferson tradelines.

            23.   On information and belief, each of these data furnishers reported the full account

 numbers belonging to their respective accounts to Equifax, and this information was contained

 within Equifax’s file regarding Ms. Rambo at the time of her request.

            24.   When Equifax produces and sells reports regarding Ms. Rambo to third parties, the

 full account numbers and name of the original creditors are included in its reports.

            25.   The accuracy of Equifax’s reports to third parties demonstrates its ability to comply

 with 15 U.S.C. § 1681g(a) as well as the contents of its files.

            26.   Having a duty to disclose all of the information regarding the accounts in

 Ms. Rambo’s file, Equifax breached its duty by failing to provide the account numbers and original

 creditors’ name, as such information is necessary for a consumer to be able to research and evaluate

 the information contained in her credit file.

            27.   Absent such information, a consumer is reduced to, at best, playing detective and,

 at worst, guessing as to whether the information in their report is accurate.




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         28.     Equifax’s disclosure contains a section entitled “Collections,” stating: “Collections

  are accounts with outstanding debt that have been placed by a creditor with a collection agency.

  Collections stay on your credit report for up to 7 years from the date the account first became past

  due. They generally have a negative impact on your credit score.”

         29.     Trident, MCM, LVNV, and Jefferson are registered with the Florida Office of

  Financial Regulation as Consumer Collection Agencies.

         30.     Thus, Equifax should have placed these tradelines under the “Collections” header

  of Ms. Rambo’s Disclosure rather than the “Other” header.

         31.     In addition to missing the full account numbers from the “Other Accounts,” Equifax

  disclosed a significant number of accounts reported by other data furnishers without full account

  numbers.

         32.     Under the heading Revolving Accounts, there are eight (8) tradelines without full

  account numbers.

         33.     Under the heading Installment Accounts, there are eight (8) tradelines without full

  account numbers.

         34.     On information and belief, all the aforementioned data furnishers reported full

  account numbers to Equifax, and this information was contained within Equifax’s file on

  Ms. Rambo at the time of her request for her consumer disclosure.

         35.     Due to widespread systemic problems, Equifax’s automated systems omits all but

  the last two or four account numbers reported by data furnishers that have a reported current

  payment status of “charge off,” in addition to many other types of accounts.

         36.     Equifax knows of this error but, despite such knowledge, has yet to correct it.




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         37.     The failure to disclose full account numbers violates the FCRA’s requirement that

  a CRA disclose all information contained in a consumer’s credit file clearly and accurately. See

  Washington v. Equifax, Case No. 3:19-cv-00154 (M.D. Tenn. Jun. 12, 2019) (“The plain language

  of the FCRA requires that the consumer reporting agency shall clearly and accurately disclose to

  the consumer ‘[a]ll information in the consumer's file at the time of the request.’ 15 U.S.C. §

  1681g. In the absence of binding authority stating that a truncated account number is a clear and

  accurate disclosure, the Court finds that Plaintiff has stated a plausible claim for a violation of

  Section 609 of the FCRA.”)

         38.     The failure of an entity to provide accurate and truthful information as required by

  law creates an injury-in-fact, thus creating standing pursuant to Article III. See, e.g., Havens Realty

  Corp. v. Coleman, 455 U.S. 363 (1982), holding “alleged injury to (plaintiff’s) statutorily created

  right to truthful housing information” was a cognizable injury in and of itself, regardless of whether

  the plaintiff actually hoped to reside in the defendant's housing complex; therefore “the Art. III

  requirement of injury in fact [was] satisfied.

         39.     The lack of accurate, full account numbers caused Ms. Rambo great frustration and

  emotional distress when trying to understand her credit report and verify it against her own records.

         40.     Further, pursuant to a 2000 FTC Opinion Letter (Advisory Opinion to Darcy, June

  30, 2000), “it is our view that a CRA that always scrambles or truncates account (or social security)

  numbers does not technically comply with Section 609 because it does not provide 'accurate' (and

  perhaps not ‘clear’) disclosure of ‘all information’ in the file.” SEE PLAINTIFF’S EXHIBIT B.

         41.     Equifax’s omission of the original creditor and full account numbers greatly

  decreases a consumer’s ability to understand her consumer credit disclosure, identify the accounts,

  and compare those accounts with her own records.




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         42.     The Credit Reporting Resource Guide, published by the Consumer Data Industry

  Association (“CDIA”), a trade association representing the CRAs, including Equifax, states that:

                 “The purpose of reporting the original creditor name is to help
                 consumers identify the source of accounts when they appear on credit
                 reports. Without the original creditor names, consumers may not know
                 what the accounts represent.” (Emphasis original.)

  SEE PLAINTIFF’S EXHIBIT C.

         43.     The Credit Reporting Resource Guide instructs debt collectors to “(r)eport the name

  of the company/creditor that originally opened the account for the consumer.” Id.

         44.     On information and belief, Trident, MCM, LVNV, and Jefferson complied with the

  Credit Reporting Resource Guide and reported the names of the true original creditors of their

  reported accounts.

                        Prevalence of Equifax’s Account Number Errors

         45.     On information and belief, Equifax’s Disclosure to Ms. Rambo was generated using

  a template that extracts database information from a consumer’s file and populates it into various

  pre-programmed fields on a consumer disclosure form.

         46.     On information and belief, this same template is used virtually every time a

  consumer requests their file from Equifax through www.annualcreditreport.com.

         47.     On information and belief, www.annualcreditreport.com is the location where the

  majority of consumers obtain their Equifax credit disclosure.

         48.     Consumer disclosures retrieved through annualcreditreport.com all exhibit the

  same missing account number and missing original creditor name errors.

         49.     Thus, every consumer with accounts appearing in the “Other” section of their

  disclosure who requested their disclosure from Equifax through www.annualcreditreport.com




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  since the template’s     use began, received a consumer disclosure with the same errors as


  Ms. Rambo.

            50.    Equifax’s error has therefore likely affected thousands of consumers.


            5 l.   Equifax has known of the ﬂaws in its systems for years, but has done nothing to ﬁx


  them, despite the large number of consumers affected. See,            e.g.,   Justin   Purdy vs. Equifax

  Information Services LLC, case 8: l9-cv-002 l7, MD. FL, Jan. 28, 2019.


            52.    Equifax’s knowing and repeated conduct warrants an award ofpunitive damages.


            53.    Equifax’s failure to disclose all of the information in the consumer’s credit ﬁle in


  free annual disclosures    is   an intentional violation of 15 U.S.C. § 1681g(a), motivated by the


  Defendant’s desire to avoid costs and increase proﬁts.


            54.    Ms. Rambo has a right to a full and complete disclosure of the contents of her ﬁle

  upon demand, at least once a year and without charge, and that disclosure must be presented clearly

  and accurately. 15 U.S.C. § l68lj.

            55.    Equifax’s failure to accurately, fully, and clearly disclose the information within its


  ﬁles regarding Ms. Rambo deprived her of this right.


            56.    Ms. Rambo has hired the undersigned law ﬁrm to represent her in this matter and

  has assigned to them her right to obtain reimbursement for her reasonable fees and costs.


                                             COUNT I
                                      VIOLATIONS OF THE FCRA

            57.    Ms. Rambo adopts and incorporates paragraphs 1 - 56 as if fully stated herein.

            58.    Equifax violated 15 U.S.C.§ l68lg(a)(l) when responding to Ms. Rambo’s request


  for her    consumer disclosure by failing to clearly and accurately disclose to Ms. Rambo, a

  Consumer, all of the information in her ﬁle at the time of the request. Speciﬁcally, Equifax

  disclosed six (6) accounts reported by Trident,   MCM, LVNV, and Jefferson without disclosing the


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  full account numbers or the names of the Original Creditors and seventeen (17) accounts also

  without the full account numbers, even though full account numbers were reported by the data

  furnishers.

         59.        Equifax knowingly provided inaccurate information in Ms. Rambo’s disclosure, as

  it knew of these issues, which have been identified and disputed by other consumers for years.

         60.        Equifax is therefore liable to Ms. Rambo, pursuant to 15 U.S.C. § 1681n, for the

  greater of her actual damages and statutory damages of up to $1,000 per violation, plus attorneys’

  fees and costs.

         61.        Alternatively, Equifax’s conduct was negligent, and Equifax is therefore liable to

  Ms. Rambo, pursuant to 15 U.S.C. § 16810, for her actual damages, plus attorneys’ fees and costs.

         WHEREFORE, Ms. Rambo respectfully requests that the Honorable Court enter

  judgment against Equifax for:

         a.         The greater of statutory damages of $1,000 per incident and Ms. Rambo’s actual

                    damages, pursuant to 15 U.S.C. § 1681n(a)(1)(A), or Ms. Rambo’s actual damages

                    pursuant to 15 U.S.C. § 1681o(a)(1);

         b.         Punitive damages pursuant to 15 U.S.C. § 1681n(a)(2);

         c.         Reasonable costs and attorneys’ fees pursuant to pursuant to 15 U.S.C. §

                    1681n(a)(3) and/or 15 U.S.C. § 1681o(a)(2); and,

         d.         Such other relief that this Court deems just and proper.

                                     DEMAND FOR JURY TRIAL

         Ms. Rambo demands a jury trial on all issues so triable.


  Respectfully submitted on December 7, 2023, by:




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                                                 SERAPH LEGAL, P. A.

                                                 /s/ Bridget L. Scarangella
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                                                 BScarangella@seraphlegal.com
                                                 1614 North 19th Street
                                                 Tampa, FL 33605
                                                 Tel: 813-567-1230
                                                 Fax: 855-500-0705
                                                 Attorneys for Plaintiff



  ATTACHED EXHIBIT LIST
  A.    Ms. Rambo’s Equifax Consumer Disclosure, December 5, 2023, Excerpt – Other
        Accounts.
  B.    FTC Opinion Letter.
  C.    Credit Reporting Resource Guide, Original Creditor Name Excerpt.

  .




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                                     EXHIBIT A
              Ms. Blanco’s Equifax Consumer Disclosure, December 5, 2023
                         Excerpt – “Other” Account (redacted)



      5.      Other Accounts

      Other accounts are those that are not already identiﬁed as Revolving, Mortgage or Ins‘allment Accounts such as child suppon
      obligations or rental agreements.



      5.1     ESUSU/THR PROPERTY MANAGEMENT

      Summary




                                                                                                                                      -
      Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It‘s
      calculated by dividing an account‘s reponed balance by its credit limit.


      Account Number                                         xxxxxx'           Reponed Balance

      Account Status                               PAYSﬁAS‘AGREED              Available Credit



      Account H istory

      The tables below show up to 3 years of the monthly balance, available credit. scheduled payment date of last payment, high credit,
      credit limit amount past due. activity designator, and comments


      Balance




      Available Credit



       2021

       2022

       2023


      Scheduled Payment




      mum                                                       P RAMBO Dec 05, 2023
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                                     EXHIBIT A
              Ms. Blanco’s Equifax Consumer Disclosure, December 5, 2023
                         Excerpt – “Other” Account (redacted)




      5.2 TRIDENT ASSET MANAGEMENT, LLC (CLOSED)


      Summary




                                                                                                                                     -
      Your debt-to—credit ratio represents the amoum of credi! you're using and generally makes up a percenmge af your credit score. It's
      calculated by dividing an account's reported balance by ﬂs credit limit.


      Account Number                                      neoco-                     Repomd Balance

      Account SMus                                      COLLECTION                   Available Crodit



      Account H istory

      The tables below show up to 3 years oi the monthly balance, available credit, scheduled payment, date of Ias‘ payment, high credit,
      credit limit. amount past due. activity designmor. and comments.


      Balance

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Available Credit

       Year    Jan        Feb        Mar        Apr       May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Scheduled Payment

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       202
       2023


      Actual Payment

       Year    Jan        Fen        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021




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                                     EXHIBIT A
              Ms. Blanco’s Equifax Consumer Disclosure, December 5, 2023
                         Excerpt – “Other” Account (redacted)




      5.3 MIDLAND CREDIT              MANAGEMENT (CLOSED)

      Summary

      Your debt-to—credit ratio represents the amoum of credi! you're using and generally makes up a percenmge af your credit score. It's
      calculated by dividing an account's reported balance by ﬂs credit limit.


      Account Number

      Account SMus
                                                           xxxxx-
                                                        COLLECTION
                                                                                     Reported Balance

                                                                                     Available Crodit
                                                                                                                                    -
      Account H istory

      The tables below show up to 3 years oi the monthly balance, available credit, scheduled payment, date of Ias‘ payment, high credit,
      credit limit. amount past due. activity designmor. and comments.


      Balance

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Available Credit

       Year    Jan        Feb        Mar        Apr       May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Scheduled Payment

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       202
       2023


      Actual Payment

       Year    Jan        Fen        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021




                                                                P RAMBO Dec 05. 2023
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                                     EXHIBIT A
              Ms. Blanco’s Equifax Consumer Disclosure, December 5, 2023
                         Excerpt – “Other” Account (redacted)




      5.4 LVNV FUNDING LLC (CLOSED)


      Summary


      calculated by dividing an account's reported balance by ﬂs credit limit.


      Account Number

      Account SMus
                                                      mmxxxxxm-
                                                        COLLECTION
                                                                                     Reported Balance

                                                                                     Available Crodit
                                                                                                                                    -
      Your debt-to—credit ratio represents the amoum of credi! you're using and generally makes up a percenmge af your credit score. It's




      Account H istory

      The tables below show up to 3 years oi the monthly balance, available credit, scheduled payment, date of Ias‘ payment, high credit,
      credit limit. amount past due. activity designmor. and comments.


      Balance

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Available Credit

       Year    Jan        Feb        Mar        Apr       May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Scheduled Payment

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       202
       2023


      Actual Payment

       Year    Jan        Fen        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021




                                                                P RAMBO Dec 05. 2023
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                                     EXHIBIT A
              Ms. Blanco’s Equifax Consumer Disclosure, December 5, 2023
                         Excerpt – “Other” Account (redacted)




      5.5 LVNV FUNDING LLC (CLOSED)


      Summary

      Your debHo—credit ratio represents the amoum of credi! you're using and generally makes up a percenmge af your credit score. It's
      calculated by dividing an account's reported balance by ﬂs credit limit.


      Account Number

      Account SMus
                                                     mtxxxxxxm-
                                                        COLLECTION
                                                                              Reported Balance

                                                                              Available Crodit
                                                                                                                                       -
      Account H istory

      The tables below show up to 3 years oi the monthly balance, available credit, scheduled payment, date of Ias‘ payment, high credit,
      credit limit. amount past due. activity designmor. and comments.


      Balance

       Year    Jan        Feb       Mar        Apr        May        Jun        Jul        Aug       Sep        Oct        Nov        Dec

       2021

       2022

       2023


      Available Credit

       Year    Jan        Feb       Mar        Apr        May        Jun        Jul        Aug       Sep         Oct       Nov        Dec

       2021

       2022

       2023


      Scheduled Payment

       Year    Jan        Feb       Mar        Apr        May        Jun        Jul        Aug       Sep        Oct        Nov        Dec

       2021

       202
       2023


      Actual Payment

       Year    Jan        Feb       Mar        Apr        May        Jun        Jul        Aug       Sep        Oct        Nov        Dec

       2021




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                                     EXHIBIT A
              Ms. Blanco’s Equifax Consumer Disclosure, December 5, 2023
                         Excerpt – “Other” Account (redacted)




      5.6 JEFFERSON CAPITAL SYSTEMS (CLOSED)


      Summary




                                                                                                                                     -
      Your debt-to—credit ratio represents the amoum of credi! you're using and generally makes up a percenmge af your credit score. It's
      calculated by dividing an account's reported balance by ﬂs credit limit.


      Account Number                                      xxxxxx-                    Reported Balance

      Account SMus                                      COLLECTION                   Available Crodit



      Account H istory

      The tables below show up to 3 years oi the monthly balance, available credit, scheduled payment, date of Ias‘ payment, high credit,
      credit limit. amount past due. activity designmor. and comments.


      Balance

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Available Credit

       Year    Jan        Feb        Mar        Apr       May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Scheduled Payment

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       202
       2023


      Actual Payment

       Year    Jan        Fen        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021




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                                     EXHIBIT A
              Ms. Blanco’s Equifax Consumer Disclosure, December 5, 2023
                         Excerpt – “Other” Account (redacted)




      5.7 JEFFERSON CAPITAL SYSTEMS (CLOSED)


      Summary


      calculated by dividing an account's reported balance by ﬂs credit limit.


      Account Number

      Account SMus
                                                          xxxxxx-
                                                        COLLECTION
                                                                                     Reported Balance

                                                                                     Available Crodit
                                                                                                                                   -
      Your debt-to—credit ratio represents the amoum of credi! you're using and generally makes up a percenmge af your credit score. It's




      Account H istory

      The tables below show up to 3 years oi the monthly balance, available credit, scheduled payment, date of Ias‘ payment, high credit,
      credit limit. amount past due. activity designmor. and comments.


      Balance

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Available Credit

       Year    Jan        Feb        Mar        Apr       May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       2022

       2023


      Scheduled Payment

       Year    Jan        Feb        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021

       202
       2023


      Actual Payment

       Year    Jan        Fen        Mar       Apr        May              Jun         Jul        Aug   Sep      Oct       Nov        Dec

       2021




                                                                P RAMBO Dec 05. 2023
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                                                       EXHIBIT B
                                                     FTC Opinion Letter



                       EDERAL TRADE COMMISSION
                       PROTECTING AMERICA'S CONSUMERS

                                                                                                                NNHNHHHHHUH


        Advisory Opinion to Darcy (06-30-00)

        Denise A Darcy. Esq.
        Asst. GeneralCounsd
        TRANS UNION
        555 West   Mam    Street
        Chimgo. Illinois 6m}

        Dear Ms. Darcy.

        This
        anomer consumer reporting       W
               mamas In your lame! sated mneeming whe‘herthe Fair Omit Repomng Am {'FCRA') aim Tans Unlon or
                                           ('CRA'). for sewr'ﬂy purposes. w 'uuncate.        mm
                                                                                              or mask lhe account number
        and social seem“): number' when maldrg ﬁle disdowras In mnsumers. You reportthal sucha ploceduve has been
        manmmendad b you by a mmmmwhowas ramnﬂy ﬂlevidirn afaumunl Idemvm fraLd by a parpakalonhha
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        are   Wain    and  mm,     and that is whalm d‘Edose k) me mammar.‘

        Secum 609mm) n1 Ina FCRA nabs mat cans, lndudng madman humans sum as Trans Union. “mal. upon
        mqueat (by a mnmmar). dearly and        3mm     dischaa lo the unmet.      . AM mmtian in ma msuma’s ﬁe al the
                                                                                       .




        lime oi ma raquast‘ (emphasis added]. If Iha "nfm'nalion in ma omsurmr's ﬁe at me time Mme requea' indudes
        account and soda: smun'ty numbers. ma provision thus many requm ma: the ORA 'aearry and                  mmm-   inmae
        sud! item in ﬂs disclosure lo consumer:      Hm.    bemuse H19 trigger fnr a ﬁle disdnsura is a “request“ by a omsum.
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        CRAmypmideameﬂmdwmemsummaskformman al ernndeannuanywimﬂul'raquesl'whsn
        it   mam Ina disdosum.
        In sum. it is our view that a   CRA mat always saambles 0r huncam awounl (u' social security) numbers does not
        Iamnimlly calmly “rim Section 609 bemuse i1 does no! provide ‘awutale' (and perhaps no! 'dear'] dbuusum cl “d1
        infarmaﬂan‘ in the ﬁe. However. if a wnsumers musat' int a ﬁ|e disclosure is framed so as Io alhw some items in the
        ﬁle Io be mbreviated or raised in U131 fashbn. a   CRA making sum a dlsdosum would oompty wikh Sauian 609.
        Theopinionsseﬂomlln lhis mbtmalsuﬂlansrarandbhdhgonmacmissim.

        Sincerely ymvs.

        Clam W.    Bﬁmm




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                                  EXHIBIT C
        Credit Reporting Resource Guide, Original Creditor Name Excerpt

             Field Definitions

             K1 Segment
             Original Creditor Name
             The K1 Segment must be present each time the account is reported by collection agencies, debt buyers, check
             guarantee companies, student loan guaranty agencies, and the U.5. Department of Education. The purpose of
             reporting the original creditor name is to help consumers identify the source of accounts when they
             appear on credit repurts. Without the original creditor names, consumers may not know what the accounts
             represen t.

             Some state |aws and CDIA policy stipulate that the original client/creditor must be identified. Federal law
             stipulates that the name of the payee must be identiﬁed when reporting returned checks

             Only one occurrence of the K1 Segment can be appended to the Base Segment            If not   applicable, do not
             report the K1 Segment.


              FIELD        HELD NAME 81 DESCRIPTION                                                          366 and 426 FORMATS

                                                                                                           Length       Position   Recormng
                                                                                                                                   Techmque

                           Segment Identiﬁer                                                                              1-2        AN
                           Contains a constant of K1.

                           OriginaI Creditor Name                                                            30          3-32        AN
                           The content of this ﬁeld is dependent on the type of reporter‘

                           Collection Agencies: Report the name of the campany/credltor that
                           orlginally opened the account for the consumer, even if the account had
                           been turned over to multlple collection agencies.

                           Debt Buyers: Report the name of the company/creditor that originally
                           opened the account for the consumer, even if the accaunt had been sold
                           multiple times to different debt buyers, Refer to the K2 Segment for
                           “purchased from" information.

                           Companies Reporting Returned Checks: Report the name of the payee;
                           i‘e‘, name of company to which the check was written.   Refer to
                           Frequently Asked Question 16 for additional guidelines on reporting
                           returned checks.

                           Student Loan Guarantors/US. Department of Education: Report the
                           name of the original student loan lender.
                           One of the following three options should be used when reporting a
                           creditor's name that would reveal sensitive information about the
                           Consumer,

                           1.   Report the name of the institution, but do not include reference to
                                the type cf service. Far example, use the hospital name without
                                identifying that it was the psychiatric unit that provided care‘ If a
                                hospital’s name reveals sensitive information, abbreviate the name.

                           2‘   Use the corporate name if it is different from the commercial name
                                of a mental lnstltution or drug rehabllitation center.

                           3.   Do not report the account if either of the above two options would
                                not sufficiently protect (he consumer’s privacy.

                           Note: Encoded information is not acceptable in (his          eld.




                                                CREDIT REPORTING RESOURCE GUIDE®                                    l
                                                                                                                           4-35
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